       CASE 0:11-cr-00087-MJD-TNL         Doc. 55     Filed 03/11/11    Page 1 of 1




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                         Criminal No. 11-87 (1)-(12) (RHK/JJK)

                            Plaintiff,                         ORDER

v.

Julian Okeayainneh (1),
Oladipo Sowunmi Coker (2),
Charles Amankwah Akuffo (3),
Nana Osei-Tutu (4),
Fawsiyo Hassan Farah (5),
Fata Leeta Sarnor David (6),
Adetokunbo Olubunmi Adejumo (7),
Jude Obira Okafor (8),
Olugbenga Temidago Adeniran (9),
Jonathan Sie Earley (10),
Charles Tubman Dwamina (11),
Sundayga Dexter Roberts (12),

                            Defendants.



       This matter is before the Court on the Government's Motion to Seal Document and

Order (Doc. No. 50). Based on all the records, files, and proceedings in this case, the

Court finds that good cause exists to allow the request. Accordingly, IT IS ORDERED

that the Government’s Motion to Seal Document is GRANTED.

Dated: March 11, 2011

                                                 s/Richard H. Kyle
                                                 RICHARD H. KYLE
                                                 United States District Judge
